              Case
     Fill in this      19-13230-MBK
                  information                   Doc
                              to identify your case:   1   Filed 02/15/19 Entered 02/15/19 16:26:31                               Desc Main
                                                           Document     Page 1 of 69
     United States Bankruptcy Court for the:

     ____________________
     District of New JerseyDistrict of (State)
                                       _________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Frutta Bowls Franchising, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               54 Hudson Street                                         _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Freehold                      NJ    07728
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Monmouth County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
            Case 19-13230-MBK               Doc 1        Filed 02/15/19 Entered 02/15/19 16:26:31                               Desc Main
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                Frutta Bowls Franchising, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            7225
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                         ✔    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
           Case 19-13230-MBK                     Doc 1      Filed 02/15/19 Entered 02/15/19 16:26:31                                 Desc Main
                                                            Document     Page 3 of 69
              Frutta Bowls Franchising, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million
                                             ✔
                                                                               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 19-13230-MBK                    Doc 1       Filed 02/15/19 Entered 02/15/19 16:26:31                                 Desc Main
                                                            Document     Page 4 of 69
               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million
                                            ✔
                                                                                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              02/15/2019
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/_____________________________________________              _______________________________________________
                                                Signature of authorized representative of debtor           Printed name


                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Joel Schwartz
                                                _____________________________________________              Date         02/15/2019
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Joel Schwartz
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Spadea Lignana
                                                _________________________________________________________________________________________________
                                                Firm name
                                                222 New Rd Suite 402
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Linwood
                                                ____________________________________________________            NJ             08221
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                6096779454
                                                ____________________________________                              jschwartz@spadealaw.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                046611995                                                       NJ
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
              Case 19-13230-MBK                                      Doc 1             Filed 02/15/19 Entered 02/15/19 16:26:31                                                                    Desc Main
                                                                                       Document     Page 5 of 69

 Fill in this information to identify the case:

                Frutta Bowls Franchising, LLC
  Debtor name _________________________________________________________________

                                          District of New Jersey
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                            4,700.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         588,637.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           593,337.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          762,643.00



4. Total liabilities ...........................................................................................................................................................................          762,643.00
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 19-13230-MBK                   Doc 1       Filed 02/15/19 Entered 02/15/19 16:26:31                                Desc Main
                                                              Document     Page 6 of 69
      Fill in this information to identify the case:

                    Frutta Bowls Franchising, LLC
      Debtor name __________________________________________________________________

                                              District of New Jersey
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):     _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     Justin Bitner                                                        Settlement              Unliquidated
1    109 Bellis Court
     Bridgewater, NJ, 08807
                                                                                                                                                       125,000.00


     Robert Calavetta                                                     Franchise fee-never     Disputed
2    1117 Verdent Road                                                    opened
     Toms River, NJ, 08753
                                                                                                                                                       60,000.00


     Adam Pierce                                                          Franchise fee-never     Disputed
3    5018 Centennial Blvd                                                 opened
     Nashville, TN, 37209
                                                                                                                                                       50,000.00


     Andy Keenan                                                          Franchise fee-never     Disputed
4    402 Wayne Brooks Drive                                               opened
     Chester Springs, PA, 19425                                                                                                                        40,000.00


     Dan Jackson                                                          Franchise fee- never    Disputed
5    452 Warfield Road                                                    opened
     Plainfield, NJ, 07063                                                                                                                             40,000.00


     Sonya Lamb                                                           Expired Franchise       Disputed
6    7056 Eastchase Pkwy                                                  Agreement
     Montgomery, AL, 36117                                                                                                                             40,000.00


     Harris Atkins                                                        Franchise fee-never     Disputed
7    51A Lawrence Lane                                                    opened
     Bay Shore, NY, 11706                                                                                                                              30,000.00


     John Hammati                                                         Franchise fee-never     Disputed
8    2048 W Allen Street                                                  opened
     Allentown, PA, 18104                                                                                                                              20,000.00




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
             Case 19-13230-MBK                  Doc 1     Filed 02/15/19 Entered 02/15/19 16:26:31                                   Desc Main
                                                          Document     Page 7 of 69
                     Frutta Bowls Franchising, LLC
    Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                    Name




     Name of creditor and complete          Name, telephone number,       Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code    and email address of          (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                            creditor contact              debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,   total claim amount and deduction for value of
                                                                          services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Johnny Strayline                                                   Franchise fee-never      Disputed
9    50 Colonial Court                                                  opened
     Jackson, NJ, 08527                                                                                                                                20,000.00


     Dan Murphy                                                         franchise fee-never      Disputed
10 2 Solomon Court                                                      opened
     Jackson, NJ, 08527                                                                                                                                20,000.00



     Dhaval Patel                                                       franchise fee-never      Disputed
11 23 Atlantic Avenue                                                   opened
     Aberdeen, NJ, 07747                                                                                                                               20,000.00


     Scott Barber                                                       Franchise fee-never      Disputed
12 635 Bay Avenue                                                       opened
     Toms River, NJ, 08753                                                                                                                             20,000.00



     Digant Patel                                                       Franchise fee-never      Disputed
13 25296 Nesting Sqare
                                                                        opened
     Chantilly, VA, 20152                                                                                                                              20,000.00


     Charlene and Antoine Atme                                          Franchise fee never      Disputed
14 14 Serafin Place                                                     opened
     Glen Rock, NJ, 07452                                                                                                                              20,000.00


     Monica Furai                                                       Franchise fee-never      Disputed
15 37 Las Brisas Blvd                                                   opened
     Voorhees, NJ, 08043
                                                                                                                                                       20,000.00


     Anthony Rosania                                                    franchise fee-never      Disputed
16 2 Bronia Street                                                      opened
     Howell, NJ, 07731                                                                                                                                 20,000.00


     Jason Schwartz                                                     Franchise fee-never      Disputed
17 540 Shoppes Blvd                                                     opened
     North Brunswick, NJ, 08902
                                                                                                                                                       20,000.00


     Raymond Kenny                                                      franchise fee-never      Disputed
18 379 Arlington Ave N                                                  opened
     Bayville, NJ, 08721                                                                                                                               20,000.00


     Seth Katz                                                          Franchise fee-never      Disputed
19 510 Rt 9 N 2nd                                                       opened
     Manaplan, NJ, 07726
                                                                                                                                                       20,000.00


     Johnny Strayline                                                   franchise fee-never      Disputed
20 50 Colonial Court                                                    opened
     Jackson, NJ, 08527                                                                                                                                20,000.00




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
              Case 19-13230-MBK                        Doc 1   Filed 02/15/19 Entered 02/15/19 16:26:31                          Desc Main
                                                               Document     Page 8 of 69
  Fill in this information to identify the case:

               Frutta Bowls Franchising, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of New Jersey
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
    3.1. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
          Undeposited funds
    4.1. _____________________________________________________________________________________________________                     7,570.00
                                                                                                                                 $______________________
          See continuation sheet
    4.2. _____________________________________________________________________________________________________                     149,067.00
                                                                                                                                 $______________________

5. Total of Part 1                                                                                                                 156,637.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Security deposit-landlord
    7.1. ________________________________________________________________________________________________________                   18,000.00
                                                                                                                                  $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                              page 1
            Case 19-13230-MBK                      Doc 1    Filed 02/15/19 Entered 02/15/19 16:26:31 Desc Main
Debtor           Frutta Bowls Franchising, LLC
                _______________________________________________________
                Name
                                                            Document     Page 9 of Case
                                                                                   69 number (if known)_____________________________________

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Prepaid expenses
    8.1.___________________________________________________________________________________________________________                  9,255.00
                                                                                                                                   $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                    27,255.00
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     76,280.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   76,280.00
                                                                                                                                  $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:         103,465.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                   103,465.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 179,745.00
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case   19-13230-MBK
              Frutta Bowls Franchising, LLC
                                                 Doc 1        Filed 02/15/19 Entered 02/15/19 16:26:31 Desc Main
Debtor            _______________________________________________________
                                                             Document      Page 10 ofCase
                                                                                      69 number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
            Case 19-13230-MBK                    Doc 1       Filed 02/15/19 Entered 02/15/19 16:26:31 Desc Main
                Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________
                                                            Document      Page 11 ofCase
                                                                                     69 number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
office furniture
                                                                                  $________________   ____________________       10,000.00
                                                                                                                               $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office equipment, computers phones                                                                                               15,000.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                 25,000.00
                                                                                                                               $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
           Case   19-13230-MBK
             Frutta Bowls Franchising, LLC
                                               Doc 1       Filed 02/15/19 Entered 02/15/19 16:26:31 Desc Main
 Debtor         _______________________________________________________
                                                          Document      Page 12 ofCase
                                                                                   69 number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________    ____________________   $______________________

    47.2___________________________________________________________         $________________    ____________________   $______________________

    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
             Case   19-13230-MBK
               Frutta Bowls Franchising, LLC        Doc 1        Filed 02/15/19 Entered 02/15/19 16:26:31 Desc Main
 Debtor           _______________________________________________________
                                                                Document      Page 13 ofCase
                                                                                         69 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1
       Leasehold Interest                                      Leasehold
       54 Hudson Street                                        Improvement                                                          4,700.00
       Freehold, NJ                                                                  $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                4,700.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
       
       ✔    Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       Intellectual Property, operating formalities, royalties                                                                       200,000.00
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                200,000.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
            Case 19-13230-MBK                           Doc 1    Filed 02/15/19 Entered 02/15/19 16:26:31 Desc Main
Debtor            Frutta Bowls Franchising, LLC
                 _______________________________________________________
                 Name
                                                                Document      Page 14 ofCase
                                                                                         69 number (if known)_____________________________________

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
    
    ✔     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                         _______________     –   __________________________         =   $_____________________
                                                                         Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                       $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Lawsuit
    ______________________________________________________________                                                                         Unknown
                                                                                                                                         $_______________________
    Nature of claim                     Malpractice-Legal
                                       ___________________________________

    Amount requested                     0.00
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                       $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                        $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                          $_____________________
   ____________________________________________________________                                                                          $_____________________
78. Total of Part 11.
                                                                                                                                           0.00
                                                                                                                                         $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case   19-13230-MBK
                Frutta Bowls Franchising, LLC
                                                          Doc 1         Filed 02/15/19 Entered 02/15/19 16:26:31 Desc Main
Debtor            _______________________________________________________
                                                                       Document      Page 15 ofCase
                                                                                                69 number (if known)_____________________________________
                  Name




Pa rt 1 2 :      Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         156,637.00
                                                                                                       $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                         27,255.00
                                                                                                       $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                         179,745.00
                                                                                                       $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                         0.00
                                                                                                       $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                         0.00
                                                                                                       $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                         0.00
                                                                                                       $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                         25,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
                                                                                                       $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                               4,700.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         200,000.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

                                                                                                  +      0.00
                                                                                                       $_______________
90. All other assets. Copy line 78, Part 11.

                                                                                                         588,637.00                           4,700.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                                        593,337.00                                                                593,337.00
                                                                                                                                                                 $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            Case 19-13230-MBK                   Doc 1         Filed 02/15/19 Entered 02/15/19 16:26:31             Desc Main
                Frutta Bowls Franchising, LLC                Document      Page 16 of 69
 Debtor 1                                                              _                  Case number (if known)
               First Name     Middle Name        Last Name



                                                     Continuation Sheet for Official Form 206 A/B
4) Other cash equivalents

Advertising account                                                 $67.00

Operating account                                                   $149,000.00




Official Form 206 A/B                                                Schedule A/B: Property
             Case 19-13230-MBK                             Doc 1      Filed 02/15/19 Entered 02/15/19 16:26:31                                      Desc Main
  Fill in this information to identify the case:
                                                                     Document      Page 17 of 69
              Frutta Bowls Franchising, LLC
  Debtor name __________________________________________________________________
                                          ______________________
  United States Bankruptcy Court for the: District of New Jersey District of _________
                                                                                         (State)

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim


      __________________________________________                                                                                 $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________             No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                 $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          0
                                                                                                                                                              page 1 of ___
                   Case 19-13230-MBK               Doc 1       Filed 02/15/19 Entered 02/15/19 16:26:31                                Desc Main
      Fill in this information to identify the case:          Document      Page 18 of 69
      Debtor
                      Frutta Bowls Franchising, LLC
                      __________________________________________________________________

                                              District of New Jersey
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                        12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔    No. Go to Part 2.
          Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                18
                                                                                                                                             page 1 of ___
  Debtor
             Case
               Frutta19-13230-MBK
                     Bowls Franchising, LLC Doc 1 Filed 02/15/19 Entered
               _______________________________________________________
                                                                                   02/15/19 16:26:31 Desc Main
                                                                                 Case number (if known)_____________________________________
               Name                                  Document          Page 19 of 69
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Adam Pierce                                                                                                              50,000.00
                                                                                                                           $________________________________
                                                                              Contingent
    5018 Centennial Blvd                                                      Unliquidated
    Nashville, TN, 37209                                                   
                                                                           ✔
                                                                               Disputed
                                                                                                   Franchise fee-never opened
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Adam Pierce                                                            Check all that apply.                             100.00
                                                                                                                           $________________________________
    5018 Centennial Blvd                                                      Contingent
    Nashville, TN, 37209                                                      Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Breach of Contract


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Andrew Jackowtiz                                                                                                         20,000.00
                                                                                                                           $________________________________
                                                                              Contingent
    325 US Highway 22W                                                        Unliquidated
    Flemington, NJ, 08822                                                  
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Expired Franchise Agreement

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Andrew Jackowtiz                                                       Check all that apply.
                                                                                                                             100.00
                                                                                                                           $________________________________
    325 US Highway 22 West                                                    Contingent
    Flemington, NJ, 08822                                                     Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                            Basis for the claim:
                                                                                                   Breach of Contract

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Andy Keenan                                                                                                              40,000.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    402 Wayne Brooks Drive                                                    Contingent
    Chester Springs, PA, 19425                                                Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Franchise fee-never opened

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Anthony Rosania                                                                                                          20,000.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    2 Bronia Street                                                           Contingent
    Howell, NJ, 07731                                                         Unliquidated
                                                                           
                                                                           ✔   Disputed
                                                                           Basis for the claim:    franchise fee-never opened

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Athes Dounells                                                         Contingent
 37 Waverly Place                                                       Unliquidated
 Red Bank, NJ, 07701                                                 
                                                                     ✔   Disputed

                                                                     Basis for the claim: Breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 Charlene and Antoine Atme
 14 Serafin Place                                                       Contingent
 Glen Rock, NJ, 07452                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Franchise fee never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Christina Rosano                                                    Check all that apply.
                                                                                                                      20,000.00
                                                                                                                     $________________________________
 6 Lauren Court                                                         Contingent
 Manaplan, NJ, 07726                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Christy Barber                                                      Check all that apply.
 635 Bay Avenue                                                         Contingent
 Toms River, NJ, 08753                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dan Jackson                                                         Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 452 Warfield Road                                                      Contingent
 Plainfield, NJ, 07063                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             40,000.00
                                                                                                                     $________________________________
 Dan Jackson                                                            Contingent
 452 Warfield Road                                                      Unliquidated
 Plainfield, NJ, 07063                                               
                                                                     ✔   Disputed

                                                                     Basis for the claim: Franchise fee- never opened



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Dan Jackson
 452 Warfield Road                                                      Contingent
 North Plainfield, NJ, 07063                                            Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dan Murphy                                                          Check all that apply.
                                                                                                                      20,000.00
                                                                                                                     $________________________________
 2 Solomon Court                                                        Contingent
 Jackson, NJ, 08527                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Daniel Crawford                                                     Check all that apply.
 225 Summit Blvd                                                        Contingent
 Birmingham, AL, 35243                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Danielle and Steve Papajan                                          Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 11 Deer Run Drive                                                      Contingent
 Freehold, NJ, 07728                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Dennis Carrol                                                          Contingent
 6461 E Old Monroe Road                                                 Unliquidated
 Indian Trail, NC, 28079                                             
                                                                     ✔   Disputed

                                                                     Basis for the claim: breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 Dhaval Patel
 23 Atlantic Avenue                                                     Contingent
 Aberdeen, NJ, 07747                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dhaval Patel                                                        Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 23 Atlantic Avenue                                                     Contingent
 Aberdeen, NJ, 07747                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      20,000.00
                                                                                                                     $________________________________
 Digant Patel                                                        Check all that apply.
 25296 Nesting Sqare                                                    Contingent
 Chantilly, VA, 20152                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Doug Nixon                                                          Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 3817 Crosswicks Hamilton Square Rd                                     Contingent
 Trenton, NJ, 08691                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Ellie Khater                                                           Contingent
 270 Walker Drive                                                       Unliquidated
 State College, PA, 16801                                            
                                                                     ✔   Disputed

                                                                     Basis for the claim: breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 Ellie Khater
 140 W Franklin Street, Suite 120                                       Contingent
 Chapel Hill, NC, 27516                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fast Signs                                                          Check all that apply.
                                                                                                                      12,543.00
                                                                                                                     $________________________________
 1766 McFarland Blvd N                                                  Contingent
 Tuscaloosa, AL, 35406                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 George Kapetanakis                                                  Check all that apply.
 142 Nassau Street                                                      Contingent
 Princeton, NJ, 08542                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gionna Marotta                                                      Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 142 S Livingston Avenue                                                Contingent
 Livingston, NJ, 07039                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30,000.00
                                                                                                                     $________________________________
 Harris Atkins                                                          Contingent
 51A Lawrence Lane                                                      Unliquidated
 Bay Shore, NY, 11706                                                
                                                                     ✔   Disputed

                                                                     Basis for the claim: Franchise fee-never opened



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Harris Atkins
 51A Lawrence Lane                                                      Contingent
 Bayshore, NY, 11706                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Harris Atkins                                                       Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 51A Lawrence Lane                                                      Contingent
 Bayshore, NY, 11706                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Harris Atkins                                                       Check all that apply.
 51A Lawrence Lane                                                      Contingent
 Bay Shore, NY, 11706                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Harris Atkins                                                       Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 51A Lawrence Lane                                                      Contingent
 Bay Shore, NY, 11706                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Holly Morrison                                                         Contingent
 4920 Roswell Road, Space 46                                            Unliquidated
 Atlanta, GA, 30342                                                  
                                                                     ✔   Disputed

                                                                     Basis for the claim: breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 Jason Schwartz
 540 Shoppes Blvd                                                       Contingent
 North Brunswick, NJ, 08902                                             Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Schwartz                                                      Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 540 Shoppes Blvd                                                       Contingent
 North Brunswick, NJ, 08902                                             Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Jesse Farese                                                        Check all that apply.
 500 NJ-73, Marlton                                                     Contingent
 Marlton, NJ, 08053                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 John Baum                                                           Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 2001 Hamilton Street                                                   Contingent
 Philadelphia, PA, 19130                                                Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             20,000.00
                                                                                                                     $________________________________
 John Giambalvo                                                         Contingent
 705 30th Avenue                                                        Unliquidated
 Northport, AL, 35476                                                
                                                                     ✔   Disputed

                                                                     Basis for the claim: franchise fee-never opened



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 John Hammati
 2048 W Allen Street                                                    Contingent
 Allentown, PA, 18104                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Johnny Strayline                                                    Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 50 Colonial Court                                                      Contingent
 Jackson, NJ, 08527                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      20,000.00
                                                                                                                     $________________________________
 Johnny Strayline                                                    Check all that apply.
 50 Colonial Court                                                      Contingent
 Jackson, NJ, 08527                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Johnny Strayline                                                    Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 50 Colonial Court                                                      Contingent
 Jackson, NJ, 08527                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Josh Giambalvo                                                         Contingent
 705 30th Avenue                                                        Unliquidated
 Northport, AL, 35476                                                
                                                                     ✔   Disputed

                                                                     Basis for the claim: Breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Josh Giambalvo
 705 30th Ave                                                           Contingent
 Northport, AL, 35476                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Justin Bitner                                                       Check all that apply.
                                                                                                                      125,000.00
                                                                                                                     $________________________________
 109 Bellis Court                                                       Contingent
 Bridgewater, NJ, 08807                                              
                                                                     ✔
                                                                         Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Settlement



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Kelsey Healy                                                        Check all that apply.
 167 US 9                                                               Contingent
 Englishtown, NJ, 07726                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kim Arbia                                                           Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 600 Compus Town Drive                                                  Contingent
 Ewing, NJ, 08638                                                       Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Kristine Garland                                                       Contingent
 340 NJ-34                                                              Unliquidated
 Colts Neck, NJ, 07722                                               
                                                                     ✔   Disputed

                                                                     Basis for the claim: breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Landon Owen
 5194 Hinkleville                                                       Contingent
 Paducah, KY, 42001                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Matt Daniel                                                         Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 127-I, US -130                                                         Contingent
 Riverton, NJ, 08077                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      20,000.00
                                                                                                                     $________________________________
 Matt Daniel                                                         Check all that apply.
 127 -I US-130                                                          Contingent
 Riverton, NJ, 08077                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Franchise fee never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Michele Cordaro c/o Marks & Klein                                   Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 63 Riverside Avenue                                                    Contingent
 Red Bank, NJ, 07701                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             20,000.00
                                                                                                                     $________________________________
 Monica Furai                                                           Contingent
 37 Las Brisas Blvd                                                     Unliquidated
 Voorhees, NJ, 08043                                                 
                                                                     ✔   Disputed

                                                                     Basis for the claim: Franchise fee-never opened



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Nick Lancetti
 1055 Metropolitan Avenue, A4                                           Contingent
 Charlotte, NC, 28204                                                   Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nick Netta                                                          Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 177 Washington Valley Road                                             Contingent
 Warren, NJ, 07059                                                      Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Niraj Hemrajani                                                     Check all that apply.
 25281 Ultimate Drive                                                   Contingent
 Aldie, VA, 20105                                                       Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raymond Kenny                                                       Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 379 Arlington Ave N                                                    Contingent
 Bayville, NJ, 08721                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: franchise fee-never opened



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Raymond Kenny                                                          Contingent
 379 Arlington Avenue N                                                 Unliquidated
 Bayville, NJ, 08721                                                 
                                                                     ✔   Disputed

                                                                     Basis for the claim: Breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Raymond Kenny
 379 Arlington Avenue N                                                 Contingent
 Bayville, NJ, 08721                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Raymond Kenny                                                       Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 379 Arlington Avenue N                                                 Contingent
 Bayville, NJ, 08721                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Robert Calavetta                                                    Check all that apply.
 1117 Verdant Road                                                      Contingent
                                                                        Unliquidated
 Toms River, NJ, 08753                                               
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Calavetta                                                    Check all that apply.
                                                                                                                       60,000.00
                                                                                                                     $________________________________
 1117 Verdent Road                                                      Contingent
 Toms River, NJ, 08753                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Robert Calvetta                                                        Contingent
 1117 Verdant Road                                                      Unliquidated
 Toms River, NJ, 08753                                               
                                                                     ✔   Disputed

                                                                     Basis for the claim: Breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Robert Calvetta
 1117 Verdant Road                                                      Contingent
 Toms River, NJ, 08753                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Calvetta                                                     Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 1117 Verdant Road                                                      Contingent
 Toms River, NJ, 08753                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Robin Pianko                                                        Check all that apply.
 57 Main Street                                                         Contingent
 Madison, NJ, 07940                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robin Pianko                                                        Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 Chimney Rock Crossing East                                             Contingent
 Unit #A110                                                             Unliquidated
 Basking Ridge, NJ, 07920                                            
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Sandy Trebour                                                          Contingent
 6327 Pine Cove Lane                                                    Unliquidated
 Loveland, OH, 45140                                                 
                                                                     ✔   Disputed

                                                                     Basis for the claim: breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 Scott Barber
 635 Bay Avenue                                                         Contingent
 Toms River, NJ, 08753                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Scott Cammarata                                                     Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 501 N Orlando Avenue, Suite 225                                        Contingent
 Winter Park, FL, 32789                                                 Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Scott Cammarata                                                     Check all that apply.
 13526 Village Park Drive, Suite 224                                    Contingent
 Orlando, FL, 32837                                                     Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Seth Katz                                                           Check all that apply.
                                                                                                                       20,000.00
                                                                                                                     $________________________________
 510 Rt 9 N 2nd                                                         Contingent
 Manaplan, NJ, 07726                                                    Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Franchise fee-never opened



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                 15 of ___
                                                                                                                                                        18
  Debtor
              Case
                Frutta19-13230-MBK
                       Bowls Franchising, LLC Doc 1 Filed 02/15/19 Entered
                _______________________________________________________
                                                                                    02/15/19 16:26:31 Desc Main
                                                                                  Case number (if known)_____________________________________
                Name                                  Document          Page 33 of 69
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             100.00
                                                                                                                     $________________________________
 Shelly Mayo-Mitchell                                                   Contingent
 3609 Rigby Road                                                        Unliquidated
 Miamisburg, OH, 45342                                               
                                                                     ✔   Disputed

                                                                     Basis for the claim: breach of contract



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       40,000.00
                                                                                                                     $________________________________
 Sonya Lamb
 7056 Eastchase Pkwy                                                    Contingent
 Montgomery, AL, 36117                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: Expired Franchise Agreement



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sonya Lamb                                                          Check all that apply.
                                                                                                                      100.00
                                                                                                                     $________________________________
 7056 East Chase Pkwy                                                   Contingent
 Montgomery, AL, 36117                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      100.00
                                                                                                                     $________________________________
 Sonya Lamb                                                          Check all that apply.
 7056 Eastchase Pkwy                                                    Contingent
 Montgomery, AL, 36117                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed

                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stacey Mangiaruga                                                   Check all that apply.
                                                                                                                       100.00
                                                                                                                     $________________________________
 241 W Broad Street                                                     Contingent
 Quakertown, PA, 18951                                                  Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: breach of contract



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                 16 of ___
                                                                                                                                                        18
  Debtor
            Case
              Frutta19-13230-MBK
                     Bowls Franchising, LLC Doc 1 Filed 02/15/19 Entered
              _______________________________________________________
                                                                                  02/15/19 16:26:31 Desc Main
                                                                                Case number (if known)_____________________________________
              Name                                  Document          Page 34 of 69
Pa rt 2 :   Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             100.00
                                                                                                                    $________________________________
 Valerie O'Neill                                                       Contingent
 332 Harvard Oval                                                      Unliquidated
 Freehold, NJ, 07728                                                
                                                                    ✔   Disputed

                                                                    Basis for the claim: breach of contract



                                                                    Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
     Last 4 digits of account number         ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                       No
                                                                       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         __________________        No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___________________       Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
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                                                                                                                                                       18
 Debtor
            Case
              Frutta19-13230-MBK
                    Bowls Franchising, LLC Doc 1 Filed 02/15/19 Entered
              _______________________________________________________
                                                                                  02/15/19 16:26:31 Desc Main
                                                                                Case number (if known)_____________________________________
              Name                                  Document          Page 35 of 69
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                            Total of claim amounts



5a. Total claims from Part 1                                                                    5a.
                                                                                                             0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                    5b.   +      762,643.00
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                   762,643.00
                                                                                                5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page __
                                                                                                                                          18 of ___
                                                                                                                                                 18
           Case 19-13230-MBK                    Doc 1       Filed 02/15/19 Entered 02/15/19 16:26:31                                 Desc Main
                                                           Document      Page 36 of 69
 Fill in this information to identify the case:

             Frutta Bowls Franchising, LLC
 Debtor name __________________________________________________________________

                                         District of New Jersey District of
 United States Bankruptcy Court for the:______________________                 _______
                                                                              (State)
 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Franchise Agreement-Hoover                        Josh Giambalvo
         State what the contract or                                                      705 30th Ave
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Northport, AL, 35476

         State the term remaining
         List the contract number of
         any government contract

                                       Franchise agreement-Baton Rouge                   Harris Atkins
         State what the contract or    Lessor                                            51A Lawrence Lane
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Bay Shore, NY, 11706

         State the term remaining
         List the contract number of
         any government contract

                                       Franchise agreement-Oxford                         Harris Atkins
         State what the contract or    Lessor                                             51A Lawrence Lane
 2.3     lease is for and the nature
         of the debtor’s interest                                                         Bay Shore, NY, 11706

         State the term remaining
         List the contract number of
         any government contract

                                       Franchise agreement-Tampa                          Harris Atkins
         State what the contract or
 2.4                                   Lessor                                             51A Lawrence Lane
         lease is for and the nature
         of the debtor’s interest                                                         Bay Shore, NY, 11706

         State the term remaining
         List the contract number of
         any government contract

                                       Franchise agreement-Ft. Myers                      Harris Atkins
         State what the contract or    Lessor
 2.5     lease is for and the nature
                                                                                          51A Lawrence Lane
         of the debtor’s interest                                                         Bay Shore, NY, 11706

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        14
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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise agreement-Austin                     Harris Atkins
            State what the contract or    Lessor                                         51A Lawrence Lane
   6
 2.____     lease is for and the nature                                                  Bay Shore, NY, 11706
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Kean                       Dhaval Patal
            State what the contract or    Lessor                                         23 Atlantic Avenue
   7
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Matawan, NJ, 07747

            State the term remaining
            List the contract number of
            any government contract

                                          Store operating-Mason                          Sandy Trebour
            State what the contract or    Lessor                                         6327 Pine Cove Lane
   8
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Loveland, OH, 45140

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise agreement-Nashville                  Adam Pierce
   9
 2.____     lease is for and the nature   Lessor                                         5018 Centennial Blvd
            of the debtor’s interest                                                     Nashville, TN, 37209
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Nashville                  Adam Pierce
            State what the contract or    Lessor                                         5018 Centennial Blvd
   10
 2.____     lease is for and the nature                                                  Nashville, TN, 37209
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Nashville                  Adam Pierce
            State what the contract or
   11
 2.____     lease is for and the nature   Lessor                                         5018 Centennial Blvd
            of the debtor’s interest                                                     Nashville, TN, 37209

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Nashville                  Adam Pierce
            State what the contract or
   12
 2.____     lease is for and the nature
                                          Lessor                                         5018 Centennial Blvd
            of the debtor’s interest                                                     Nashville, TN, 37209

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise agreement-Nashville                  Adam Pierce
            State what the contract or    Lessor                                         5018 Centennial Blvd
   13
 2.____     lease is for and the nature                                                  Nashville, TN, 37209
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Nashville                  Adam Pierce
            State what the contract or    Lessor                                         5018 Centennial Blvd
   14
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Nashville, TN, 37209

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Flemington                 Andrew Jackowitz
            State what the contract or    Lessor                                         325 US Highway 22 West
   15
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Flemington, NJ, 08822

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise agreement-Jersey City                Christine Rosano
   16
 2.____     lease is for and the nature   Lessor                                         100 Town Square Place
            of the debtor’s interest                                                     Hoboken, NJ, 07030
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Hunters                    Scott Camaratta
            State what the contract or    Creek                                          501 N Orlando Avenue, Suite 225
   17
 2.____     lease is for and the nature   Lessor                                         Winter Park, FL, 32789
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Winter park                Scott Camaratta
            State what the contract or
   18
 2.____     lease is for and the nature   Lessor                                         501 N Orlando Ave, Suite 225
            of the debtor’s interest                                                     Winter Park, FL, 32789

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-College Park               Robert Calavetta
            State what the contract or
   19
 2.____     lease is for and the nature
                                          Lessor                                         1117 Verdent Road
            of the debtor’s interest                                                     Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise agreement- Ohio State                Robert Calavetta
            State what the contract or    Lessor                                         1117 Verdent Road
   20
 2.____     lease is for and the nature                                                  Toms River, NJ, 08753
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-St. Petersburg Robert Calavetta
            State what the contract or    Lessor                             1117 Verdent Road
   21
 2.____     lease is for and the nature
            of the debtor’s interest                                         Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Clearwater                 Robert Calavetta
            State what the contract or    Lessor                                         1117 Verdent Road
   22
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise agreement-Charleston                 Robert Calavetta
   23
 2.____     lease is for and the nature   Lessor                                         1117 Verdent Road
            of the debtor’s interest                                                     Toms River, NJ, 08753
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Madison                    Robert Calavetta
            State what the contract or    Lessor                                         1117 Verdent Road
   24
 2.____     lease is for and the nature                                                  Toms River, NJ, 08753
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Knoxville                  Robert Calavetta
            State what the contract or
   25
 2.____     lease is for and the nature   Lessor                                         1117 Verdent Road
            of the debtor’s interest                                                     Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Ann Harbor                 Robert Calavetta
            State what the contract or
   26
 2.____     lease is for and the nature
                                          Lessor                                         1117 Verdent Road
            of the debtor’s interest                                                     Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract



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               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise agreement-Seminole                   Robert Calavetta
            State what the contract or    Lessor                                         1117 Verdent Road
   27
 2.____     lease is for and the nature                                                  Toms River, NJ, 08753
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Jacksonville               Sonya Lamb
            State what the contract or    Lessor                                         7056 East Chase Pkwy
   28
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Montgomery, AL, 36117

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Tallahassee                Sonya Lamb
            State what the contract or    Lessor                                         7056 East Chase Pkwy
   29
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Montgomery, AL, 36117

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise agreement-College                    Sonya Lamb
   30
 2.____     lease is for and the nature   Station                                        7056 East Chase Pkwy
            of the debtor’s interest      Lessor                                         Montgomery, AL, 36117
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Montgomery                 Sonya Lamb
            State what the contract or    Lessor                                         7056 East Chase Pkwy
   31
 2.____     lease is for and the nature                                                  Montgomery, AL, 36117
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Gainsville                 Sonya Lamb
            State what the contract or
   32
 2.____     lease is for and the nature   Lessor                                         7056 East Chase Pkwy
            of the debtor’s interest                                                     Montgomery, AL, 36117

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Chapel Hill                Ellie Khater
            State what the contract or
   33
 2.____     lease is for and the nature
                                          Lessor                                         140 W Franklin Street, Suite 120
            of the debtor’s interest                                                     Huntington, WV, 25716

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise agreement-Quakertown                 Stacey Mangiaruga
            State what the contract or    Lessor                                         241 W Broad Street
   34
 2.____     lease is for and the nature                                                  Quakertown, PA, 18951
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-North                      Jason Schwartz
            State what the contract or    Brunswick                                      540 Shoppes Blvd
   35
 2.____     lease is for and the nature
            of the debtor’s interest      Lessor                                         North Brunswick, NJ, 08902

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Ewing                      Kim Arbia
            State what the contract or    Lessor                                         600 Compus Town Drive
   36
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Trenton, NJ, 08638

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise agreement-Athens                     Harris Aktins
   37
 2.____     lease is for and the nature   Lessor                                         51A Lawrence Lane
            of the debtor’s interest                                                     Bay Shore, NY, 11706
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Dallas                     Dan Jackson
            State what the contract or    Lessor                                         452 Warfield Road
   38
 2.____     lease is for and the nature                                                  Plainfield, NJ, 07063
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Atlanta                    Holly Morrison
            State what the contract or
   39
 2.____     lease is for and the nature   Lessor                                         4920 Roswell Road, Space 46
            of the debtor’s interest                                                     Atlanta, GA, 30342

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Brick                      Scott Barber
            State what the contract or
   40
 2.____     lease is for and the nature
                                          Lessor                                         635 Bay Avenue, #40
            of the debtor’s interest                                                     Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract



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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise agreement-Birmingham                 Daniel Crawford
            State what the contract or    Lessor                                         225 Summit Blvd
   41
 2.____     lease is for and the nature                                                  Birmingham, AL, 35243
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Madison                    Robin Pianko
            State what the contract or    Lessor                                         57 Main Street
   42
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Madison, NJ, 07940

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Philadelphia               Matthew Daniels
            State what the contract or    Lessor                                         127-I US-130
   43
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Riverton, NJ, 08077

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise agreement-Cinnaminson                Matthew Daniels
   44
 2.____     lease is for and the nature   Lessor                                         127 -I US-130
            of the debtor’s interest                                                     Riverton, NJ, 08077
            State the term remaining
            List the contract number of
            any government contract

                                          store operating-Birmingham                     Josh Giambalvo
            State what the contract or    Lessor                                         705 30th Avenue
   45
 2.____     lease is for and the nature                                                  Northport, AL, 35476
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Store operating                                Paul Kenny
            State what the contract or
   46
 2.____     lease is for and the nature   Lessor                                         379 Arlington Ave North
            of the debtor’s interest                                                     Bayville, NJ, 08721

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Philadelphia               Johh Baum
            State what the contract or
   47
 2.____     lease is for and the nature
                                          Lessor                                         2001 Hamilton Street
            of the debtor’s interest                                                     Philadelphia, PA, 19130

            State the term remaining
            List the contract number of
            any government contract



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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise agreement-Colts Neck                 Ray Garland
            State what the contract or    Lessor
   48
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-New                        Michelle Cordaro
            State what the contract or    Brunswick                                      37A Easton Ave
   49
 2.____     lease is for and the nature
            of the debtor’s interest      Lessor                                         New Brunswick, NJ, 08901

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Charlotte                  Nick Lancetti
            State what the contract or    Lessor                                         1055 Mtropolitan Ave, A4
   50
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Charlotte, NC, 28204

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise Agreement-Middletown                 Athas Dounells
   51
 2.____     lease is for and the nature   Lessor                                         37 Waverly Place
            of the debtor’s interest                                                     Red Bank, NJ, 07701
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Marlboro                   Kelsey Healy
            State what the contract or    Lessor                                         167 US 9
   52
 2.____     lease is for and the nature                                                  Englishtown, NJ, 07726
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Aberdeen                   Dhaval Patel
            State what the contract or
   53
 2.____     lease is for and the nature   Lessor                                         23 Atlantic Avenue
            of the debtor’s interest                                                     Matawan, NJ, 07747

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Miamisburg                 Shelly Mayo-Mitchel
            State what the contract or
   54
 2.____     lease is for and the nature
                                          Lessor                                         3609 Rigby Road
            of the debtor’s interest                                                     Miamisburg, OH, 45342

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise Agreement-Bridgewater                Robin Pianko
            State what the contract or    Lessor                                         57 Main Street
   55
 2.____     lease is for and the nature                                                  Madison, NJ, 07940
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Warren                     Nick Netta
            State what the contract or    Lessor                                         177 Washington Valley Road
   56
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Warren, NJ, 07059

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Paduach                    Landon Owen
            State what the contract or    Lessor                                         5194 Hinkleville
   57
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Paducah, KY, 42001

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise Agreement-Penn State                 Ellie Khater
   58
 2.____     lease is for and the nature   Lessor                                         140 W Franklin Street, Suite 120
            of the debtor’s interest                                                     Chapel Hill, NC, 27516
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Liberty Mall               Anthony Rosania
            State what the contract or    Lessor                                         2 Bronia Street
   59
 2.____     lease is for and the nature                                                  Howell, NJ, 07731
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Reston                     Digent Patel
            State what the contract or
   60
 2.____     lease is for and the nature   Lessor                                         25296 Nesting Square
            of the debtor’s interest
                                                                                         Chantilly, VA, 20152
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Marlton                    Nicole and Jesse Fearese
            State what the contract or
   61
 2.____     lease is for and the nature
                                          Lessor                                         500 NJ-73, Marlton
            of the debtor’s interest                                                     Marlton, NJ, 08053

            State the term remaining
            List the contract number of
            any government contract



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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise Agreement-West Chester               Andy Keenan
            State what the contract or    Lessor                                         402 Wayne Brooks Drive
   62
 2.____     lease is for and the nature                                                  Chester Springs, PA, 19425
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Indian Trail               Dennis Carrol
            State what the contract or    Lessor                                         6461 E Old Monroe Road
   63
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Indian Trail, NC, 28079

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Princeton                  George Kapetanakis
            State what the contract or    Lessor                                         142 Nassau Street
   64
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Princeton, NJ, 08542

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise agreement-Delaware                   Johnny Strayline
   65
 2.____     lease is for and the nature   Lessor                                         50 Colonial Court
            of the debtor’s interest                                                     Jackson, NJ, 08527
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise agreement-Metuchen                   Dan Jackson
            State what the contract or    Lessor                                         452 Warfield Road
   66
 2.____     lease is for and the nature                                                  Plainfield, NJ, 07063
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Wayne                      Charlene and Antoine Atme
            State what the contract or
   67
 2.____     lease is for and the nature   Lessor                                         14 Serafin Place
            of the debtor’s interest                                                     Glen Rock, NJ, 07452

            State the term remaining
            List the contract number of
            any government contract

                                          Store operating-Robbinsville                   Doug Nixon
            State what the contract or
   68
 2.____     lease is for and the nature
                                          Lessor                                         3817 Crosswicks Hamilton Sqare Road
            of the debtor’s interest                                                     Trenton, NJ, 08691

            State the term remaining
            List the contract number of
            any government contract



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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Store operating                                Paul Kenny
            State what the contract or    Lessor                                         379 Arlington Avenue N
   69
 2.____     lease is for and the nature                                                  Bayville, NJ, 08721
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Store operating-Fairfax                        Niraj Hemrajani
            State what the contract or    Lessor                                         25281 Ultimate Drive
   70
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Aldie, VA, 20105

            State the term remaining
            List the contract number of
            any government contract

                                          store under construction-Wall                  Dan Murphy
            State what the contract or    Lessor                                         2 Solomon Court
   71
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Jackson, NJ, 08527

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Store operating-Shrewberry                     Valerie O'Neill
   72
 2.____     lease is for and the nature   Lessor                                         332 Harvard Oval
            of the debtor’s interest                                                     Freehold, NJ, 07728
            State the term remaining
            List the contract number of
            any government contract

                                          Store operating-Tuscaloosa                     Josh Giambalvo
            State what the contract or    Lessor                                         705 30th Avenue
   73
 2.____     lease is for and the nature                                                  Northport, AL, 35476
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Store operating-Howell                         Francine Gagliano
            State what the contract or
   74
 2.____     lease is for and the nature   Lessor                                         2231 US Highway 9
            of the debtor’s interest                                                     Howell, NJ, 07731

            State the term remaining
            List the contract number of
            any government contract

                                          Expired Franchise Agreement-                   Matt Daniel
            State what the contract or
   75
 2.____     lease is for and the nature
                                          Philadelphia                                   127 -I US-130
            of the debtor’s interest      Lessee                                         Riverton, NJ, 08077

            State the term remaining
            List the contract number of
            any government contract



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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise Agreement-Nashville                  Adam Pierce
            State what the contract or    Lessor                                         5018 Centennial Blvd
   76
 2.____     lease is for and the nature                                                  Nashville, TN, 37209
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Toms River                 Scott Barber
            State what the contract or    Lessor                                         635 Bay Avenue #40
   77
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Allentown                  John Hammati
            State what the contract or    Lessor                                         2048 W Allen Street
   78
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Allentown, PA, 18104

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise Agreement-Cherry Hill                Monica Furai
   79
 2.____     lease is for and the nature   Lessor                                         37 Las Brisas Blvd
            of the debtor’s interest                                                     Voorhees, NJ, 08043
            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement--Lexington                 Harris Atkins
            State what the contract or    Lessor                                         51a Lawrence Lane
   80
 2.____     lease is for and the nature                                                  Bay Shore, NY, 11706
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Clemson                    Robert Calavetta
            State what the contract or
   81
 2.____     lease is for and the nature   Lessor                                         1117 Verdant Road
            of the debtor’s interest                                                     Toms River, NJ, 08753

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement- Secaucus                  Andrew Jackowtiz
            State what the contract or
   82
 2.____     lease is for and the nature
                                          Lessor                                         325 US Highway 22W
            of the debtor’s interest                                                     Flemington, NJ, 08822

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

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     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise Agreement-Auburn                     Sonya Lamb
            State what the contract or    Lessor                                         7056 East Chase Pkwy
   83
 2.____     lease is for and the nature                                                  Montgomery, AL, 36117
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Montclair                  Seth Katz
            State what the contract or    Lessor                                         510 Rt 9 N 2nd
   84
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Manaplan, NJ, 07726

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Rockaway                   Jason Schwartz
            State what the contract or    Lessor                                         540 Shoppes Blvd
   85
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         North Brunswick, NJ, 08902

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Franchise Agreement-King of                    Andy Keenan
   86
 2.____     lease is for and the nature   Prussia                                        402 Wayne Brook Drive
            of the debtor’s interest      Lessor                                         Chester Springs, PA, 19425
            State the term remaining
            List the contract number of
            any government contract

                                          Expired Franchise Agreement-West               Andy Keenan
            State what the contract or    Chester                                        402 WAyne Brook Drive
   87
 2.____     lease is for and the nature   Lessor                                         Chester Springs, PA, 19425
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-San Antonio                Dan Jackson
            State what the contract or
   88
 2.____     lease is for and the nature   Lessor                                         452 Warfield Road
            of the debtor’s interest                                                     Plainfield, NJ, 07063

            State the term remaining
            List the contract number of
            any government contract

                                          Franchise Agreement-Somerset                   Dan Jackson
            State what the contract or
   89
 2.____     lease is for and the nature
                                          Lessor                                         452 Warfield Road
            of the debtor’s interest                                                     North Plainfield, NJ, 07063

            State the term remaining
            List the contract number of
            any government contract



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               Frutta Bowls Franchising, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Franchise Agreement-Ocean City                 Johnny Strayline
            State what the contract or    Lessor                                         50 Colonial Court
   90
 2.____     lease is for and the nature                                                  Jackson, NJ, 08527
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



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           Case 19-13230-MBK                    Doc 1       Filed 02/15/19 Entered 02/15/19 16:26:31                                  Desc Main
                                                           Document      Page 50 of 69
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Frutta Bowls Franchising, LLC

                                         District of New Jersey
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1     _____________________                                                                             _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
         _____________________                                                                             _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
         _____________________                                                                             _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
         _____________________                                                                             _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
         _____________________                                                                             _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
         _____________________                                                                             _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
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Fill in this information to identify the case:
             Frutta Bowls Franchising, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of New Jersey District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               ✔   Operating a business
                                                                                                                                                99,008.00
                                                 01/01/2019
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date            Other _______________________    $_____________________


           For prior year:                       01/01/2018
                                           From ___________         to     12/31/2018
                                                                           ___________         
                                                                                               ✔   Operating a business                      1,535,113.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:             01/01/2017
                                           From ___________         to     12/31/2017
                                                                           ___________         
                                                                                               ✔   Operating a business                        282,711.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $__________________




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                 Frutta Bowls Franchising, LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________       ________        $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



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Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                   Date              Value of property
     5.1.

            __________________________________________                                                                       ______________    $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                                  _______________     $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                    Date action was      Amount
                                                                                                                             taken

             __________________________________________                                                                     _______________    $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address                Status of case
            Frutta Bowl Franchising, LLC v. Justin                                           United States District Court
     7.1.   Bitner, et.al.                           Trademark Infringement                                                                        Pending

                                                                                                                                                   On appeal

             Case number                                                                     402 East State Street                              
                                                                                                                                                ✔   Concluded
                                                                                             Trenton, NJ 08608
      18-cv-02446
             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                   Pending
     7.2.
                                                                                                                                                   On appeal

             Case number
                                                                                                                                                   Concluded




             _________________________________


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Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


            __________________________________________                                                                       _________________   $__________
     9.1.
            Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
     ✔
            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            __________________________________________
   11.1.
                                                                                                                         ______________      $_________
            Address




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                             Electronically
                                                                                                                                             Paper

                                                             Nature of the business operation, including type of services the             If debtor provides meals
            Facility name and address                        debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Frutta Bowls Franchising, LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________
                                                     _____________________________________                                                        Pending
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Withum, Smith & Brown                                                                           From _______
   26a.1.     __________________________________________________________________________________
              Name
              331 Newman Springs Road, Suite 125, Red Bank, NJ 07701                                          To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service


                    Withum, Smith & Brown                                                                     From _______
         26b.1.     ______________________________________________________________________________
                    Name
                    331 Newman Springs Road, Suite 125, Red Bank, NJ 07701                                    To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Withum, Smith & Brown
                    ______________________________________________________________________________
                    Name
                     331 Newman Springs Road, Suite 125, Red Bank, NJ 07701




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Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




             Name of the person who supervised the taking of the inventory                    Date of            The dollar amount and basis (cost, market, or
                                                                                              inventory          other basis) of each inventory

             ______________________________________________________________________           _______        $___________________

             Name and address of the person who has possession of inventory records


   27.2.     ______________________________________________________________________
             Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                               Address                                                 Position and nature of any             % of interest, if any
                                                                                                      interest
            Patrick Gagliano                  54 Hudson Street, Freehold, NJ 07728                                                             43
           ____________________________      _________________________________________________        ____________________________            _______________
            Brooke Gagliano                   54 Hudson Street, Freehold, NJ 07728                                                             57
           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     
     ✔   No
          Yes. Identify below.
                                                 Address                                              Position and nature of           Period during which
             Name
                                                                                                      any interest                     position or interest was
                                                                                                                                       held
             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.

             Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                      description and value of                                providing the value
                                                                                      property


   30.1.     ______________________________________________________________           _________________________            _____________
             Name


                                                                                                                          _____________


                                                                                                                          _____________

             Relationship to debtor                                                                                       _____________

             ______________________________________________________________                                               _____________

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Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       02/15/2019
                               _________________
                                MM / DD / YYYY



              /s/
              ___________________________________________________________                 Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔    No
             Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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Adam Pierce                                        Christine Rosano
5018 Centennial Blvd                               100 Town Square Place
Nashville, TN 37209                                Hoboken, NJ 07030


Andrew Jackowitz                                   Christy Barber
325 US Highway 22 West                             635 Bay Avenue
Flemington, NJ 08822                               Toms River, NJ 08753


Andrew Jackowtiz                                   Dan Jackson
325 US Highway 22W                                 452 Warfield Road
Flemington, NJ 08822                               Plainfield, NJ 07063


Andrew Jackowtiz                                   Dan Jackson
325 US Highway 22 West                             452 Warfield Road
Flemington, NJ 08822                               North Plainfield, NJ 07063


Andy Keenan                                        Dan Murphy
402 Wayne Brooks Drive                             2 Solomon Court
Chester Springs, PA 19425                          Jackson, NJ 08527


Andy Keenan                                        Daniel Crawford
402 WAyne Brook Drive                              225 Summit Blvd
Chester Springs, PA 19425                          Birmingham, AL 35243


Andy Keenan                                        Danielle and Steve Papajan
402 Wayne Brook Drive                              11 Deer Run Drive
Chester Springs, PA 19425                          Freehold, NJ 07728


Anthony Rosania                                    Dennis Carrol
2 Bronia Street                                    6461 E Old Monroe Road
Howell, NJ 07731                                   Indian Trail, NC 28079


Athas Dounells                                     Dhaval Patal
37 Waverly Place                                   23 Atlantic Avenue
Red Bank, NJ 07701                                 Matawan, NJ 07747


Athes Dounells                                     Dhaval Patel
37 Waverly Place                                   23 Atlantic Avenue
Red Bank, NJ 07701                                 Aberdeen, NJ 07747


Charlene and Antoine Atme                          Dhaval Patel
14 Serafin Place                                   23 Atlantic Avenue
Glen Rock, NJ 07452                                Matawan, NJ 07747


Christina Rosano                                   Digant Patel
6 Lauren Court                                     25296 Nesting Sqare
Manaplan, NJ 07726                                 Chantilly, VA 20152
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Digent Patel                                          Harris Atkins
25296 Nesting Square                                  51A Lawrence Lane
Chantilly, VA 20152                                   Bayshore, NY 11706


Doug Nixon                                            Harris Atkins
3817 Crosswicks Hamilton Square Rd                    51a Lawrence Lane
Trenton, NJ 08691                                     Bay Shore, NY 11706


Doug Nixon                                            Holly Morrison
3817 Crosswicks Hamilton Sqare Road                   4920 Roswell Road, Space 46
Trenton, NJ 08691                                     Atlanta, GA 30342


Ellie Khater                                          Jason Schwartz
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Ellie Khater                                          Jesse Farese
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Chapel Hill, NC 27516                                 Marlton, NJ 08053


Ellie Khater                                          Johh Baum
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Huntington, WV 25716                                  Philadelphia, PA 19130


Fast Signs                                            John Baum
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Tuscaloosa, AL 35406                                  Philadelphia, PA 19130


Francine Gagliano                                     John Giambalvo
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Howell, NJ 07731                                      Northport, AL 35476


George Kapetanakis                                    John Hammati
142 Nassau Street                                     2048 W Allen Street
Princeton, NJ 08542                                   Allentown, PA 18104


Gionna Marotta                                        Johnny Strayline
142 S Livingston Avenue                               50 Colonial Court
Livingston, NJ 07039                                  Jackson, NJ 08527


Harris Aktins                                         Josh Giambalvo
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Bay Shore, NY 11706                                   Northport, AL 35476


Harris Atkins                                         Josh Giambalvo
51A Lawrence Lane                                     705 30th Ave
Bay Shore, NY 11706                                   Northport, AL 35476
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Justin Bitner                                        Monica Furai
109 Bellis Court                                     37 Las Brisas Blvd
Bridgewater, NJ 08807                                Voorhees, NJ 08043


Kelsey Healy                                         Nick Lancetti
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Kim Arbia                                            Nick Lancetti
600 Compus Town Drive                                1055 Metropolitan Avenue, A4
Ewing, NJ 08638                                      Charlotte, NC 28204


Kim Arbia                                            Nick Netta
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Kristine Garland                                     Nicole and Jesse Fearese
340 NJ-34                                            500 NJ-73, Marlton
Colts Neck, NJ 07722                                 Marlton, NJ 08053


Landon Owen                                          Niraj Hemrajani
5194 Hinkleville                                     25281 Ultimate Drive
Paducah, KY 42001                                    Aldie, VA 20105


Matt Daniel                                          Paul Kenny
127-I, US -130                                       379 Arlington Ave North
Riverton, NJ 08077                                   Bayville, NJ 08721


Matt Daniel                                          Paul Kenny
127 -I US-130                                        379 Arlington Avenue N
Riverton, NJ 08077                                   Bayville, NJ 08721


Matthew Daniels                                      Ray Garland
127 -I US-130
Riverton, NJ 08077
                                                     Raymond Kenny
                                                     379 Arlington Avenue N
Matthew Daniels                                      Bayville, NJ 08721
127-I US-130
Riverton, NJ 08077
                                                     Raymond Kenny
                                                     379 Arlington Ave N
Michele Cordaro c/o Marks & Klein                    Bayville, NJ 08721
63 Riverside Avenue
Red Bank, NJ 07701
                                                     Robert Calavetta
                                                     1117 Verdant Road
Michelle Cordaro                                     Toms River, NJ 08753
37A Easton Ave
New Brunswick, NJ 08901
                                                     Robert Calavetta
                                                     1117 Verdent Road
                                                     Toms River, NJ 08753
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Robert Calvetta                                       Shelly Mayo-Mitchel
1117 Verdant Road                                     3609 Rigby Road
Toms River, NJ 08753                                  Miamisburg, OH 45342


Robin Pianko                                          Shelly Mayo-Mitchell
57 Main Street                                        3609 Rigby Road
Madison, NJ 07940                                     Miamisburg, OH 45342


Robin Pianko                                          Sonya Lamb
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Basking Ridge, NJ 07920

                                                      Sonya Lamb
Sandy Trebour                                         7056 Eastchase Pkwy
6327 Pine Cove Lane                                   Montgomery, AL 36117
Loveland, OH 45140

                                                      Sonya Lamb
Scott Barber                                          7056 East Chase Pkwy
635 Bay Avenue                                        Montgomery, AL 36117
Toms River, NJ 08753

                                                      Stacey Mangiaruga
Scott Barber                                          241 W Broad Street
635 Bay Avenue, #40                                   Quakertown, PA 18951
Toms River, NJ 08753

                                                      Valerie O'Neill
Scott Barber                                          332 Harvard Oval
635 Bay Avenue #40                                    Freehold, NJ 07728
Toms River, NJ 08753


Scott Camaratta
501 N Orlando Ave, Suite 225
Winter Park, FL 32789


Scott Camaratta
501 N Orlando Avenue, Suite 225
Winter Park, FL 32789


Scott Cammarata
501 N Orlando Avenue, Suite 225
Winter Park, FL 32789


Scott Cammarata
13526 Village Park Drive, Suite 224
Orlando, FL 32837


Seth Katz
510 Rt 9 N 2nd
Manaplan, NJ 07726
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Frutta Bowls Franchising, LLC                                                   11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Patrick Gagliano                                            43                      Managing member
 54 Hudson Street, Freehold, NJ 07728




 Brooke Gagliano                                             57                      Managing member
 54 Hudson Street, Freehold, NJ 07728
